                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

IN RE:
                                    )
ALLISON PINKERTON GAMBLE            )     BANKRUPTCY CASE NO: 18-82298-CRJ
                                    )
                     DEBTOR.        )     CHAPTER 7
******************************************************************************
                                    )
ALLISON PINKERTON GAMBLE            )
                                    )
                     PLAINTIFF,     )     A.P. NO: 18-80098
                                    )
v.                                  )
                                    )
UNITED STATES OF AMERICA, ET AL. )
                                    )
                    DEFENDANTS. )

                 ANSWER OF THE DEFENDANT UNITED STATES OF AMERICA

        Comes now the Defendant, the United States of America (“United States”) in behalf of
the Internal Revenue Service ("IRS") by and through its counsel Jay E. Town, United States
Attorney for the Northern District of Alabama, and files this Answer to the Debtor’s Complaint
to Determine the Dischargeability of Tax Obligations. The United States answers the allegations
contained in the complaint as follows:

      1.      The United States admits the allegation contained in paragraph one of the
complaint.

      2.      The United States admits the allegation contained in paragraph two of the
complaint.

     3.       The United States admits the allegation contained in paragraph two of the
complaint.

     4.       The United States admits the allegation contained in paragraph four of the
complaint.

      5.      No response is required of the United States to the allegations contained in
paragraph five of the complaint.

      6.      No response is required of the United States to the allegation contained in
paragraph six of the complaint.




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     7.       The United States admits the allegation contained in paragraph seven of the
complaint.

      8.      The United States is without information to form a belief as to the truth of the
allegations contained in paragraph eight of the complaint and demands strict proof thereof.

      9.      The United States is without information to form a belief as to the truth of the
allegations contained in paragraph nine of the complaint and demands strict proof thereof.

     10.      The United States is without information to form a belief as to the truth of the
allegations contained in paragraph ten of the complaint and demands strict proof thereof.

    Respectfully submitted on this the 29th day of October 2018.

                                              JAY E. TOWN
                                              United States Attorney

                                              /s/ Richard E. O’Neal
                                              RICHARD E. O’NEAL
                                              Assistant United States Attorney
                                              1801 4th Avenue North
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                                  CERTIFICATE OF SERVICE




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       This is to certify that a copy of the foregoing has been served on the following by first-
class United States Mail, properly addressed and postage prepaid on this the 29th day of October
2018.

Mr. Tazewell Taylor Shepard, IV
Sparkman, Shepard & Morris, P.C.
P.O. Box 19045
Huntsville, AL 35804



                                             /s/ Richard E. O’Neal
                                             RICHARD E. O’NEAL
                                             Assistant United States Attorney




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